Case 3:21-md-03004-NJR   Document 5577-2 Filed 03/31/25   Page 1 of 6   Page ID
                                   #44998




                         EXHIBIT B
Case 3:21-md-03004-NJR                     Document 5577-2 Filed 03/31/25                Page 2 of 6      Page ID
                                                     #44999

  From:                 PQ
  To:                   strawberry44807@yahoo.com
  Subject:              ROARK, DOUGLAS_ BRENDA SUE RUSH_ 403357_ PARAQUAT // RE: PROBATE PACKETD NEEDED
  Date:                 Friday, January 3, 2025 2:35:10 PM
  Attachments:          NLG - Probate Packet (Updated 12-13-23).pdf



  Dear Brenda:

  Please accept our deepest condolences for your loss. To continue litigating this case,
  our firm needs you to complete the attached documents. Some documents also need to
  be notarized.

  Enclosed please find the following:

          1. Contract – Please sign and return it to our office.
          2. Heirship Agreement – Please sign and notarize in front of a notary. If you
             choose option in paragraph #6, then pages 4-10 are not needed.
          3. Next of Kin Affidavit – Please sign and notarize in front of a notary.
          4. Additional Decedent Medical Records – Fill out to the best of your
             knowledge.
          5. We need a copy of Douglas’ Death Certificate.
          6. We need a copy of The Last Will and Testament for Douglas Roark.

  Please be advised upon Douglas’ death, the Durable Power of Attorney Documents are
  no longer valid. Please reply to this email with the completed documents or any
  questions/concerns you may have.




  Kindest regards,
  Christina Kenebrew
  Paralegal

  O: 214-890-0711 F: 214-890-0712
                             5489 Blair Rd. / Dallas, TX 75231
  <image001.jpg>             ntrial.com



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  this message is not the intended recipient or an agent responsible for
Case 3:21-md-03004-NJR   Document 5577-2 Filed 03/31/25   Page 3 of 6   Page ID
                                   #45000
Case 3:21-md-03004-NJR                      Document 5577-2 Filed 03/31/25                    Page 4 of 6         Page ID
                                                      #45001

  From:                 PQ
  To:                   strawberry44807@yahoo.com
  Subject:              ROARK, DOUGLAS_ BRENDA SUE RUSH_ 403357_ PARAQUAT // RE: Please complete probate and return
                        immediately
  Date:                 Friday, January 3, 2025 4:22:34 PM
  Attachments:          ROARK, DOUGLAS_ BRENDA SUE RUSH_ 403357_ PARAQUAT _ 14 DAY RESPONSE LETTER.pdf
                        NLG - Probate Packet (Updated 12-13-23).pdf



  Dear Brenda,



  Our firm has been trying to contact you regarding your potential claim and has been
  unsuccessful in reaching you and/or we have not received a response from you.

  We are currently unable to continue investigating your potential claim and are trying to
  contact you for additional information, however, we cannot provide adequate
  representation if we cannot get in contact with you.

  In order to keep your case open and prevent closure and/or dismissal, please respond to
  this letter within fourteen (14) days otherwise we may not have any option but to close
  your case and withdraw from representation, if appropriate.




  Kindest regards,
  Christina Kenebrew
  Paralegal

  O: 214-890-0711 F: 214-890-0712
                             5489 Blair Rd. / Dallas, TX 75231
  <image001.jpg>             ntrial.com



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Case 3:21-md-03004-NJR   Document 5577-2 Filed 03/31/25   Page 5 of 6   Page ID
                                   #45002
Case 3:21-md-03004-NJR                      Document 5577-2 Filed 03/31/25               Page 6 of 6        Page ID
                                                      #45003

  From:                 PQ
  To:                   strawberry44807@yahoo.com
  Subject:              ROARK, DOUGLAS, BRENDA SUE RUSH_ 403357_ PARAQUAT // RE: PLEASE ALL US REGARD NG YOUR
                        LA SU T
  Date:                 Tuesday, February 18, 2025 11:0 :58 AM



  Hello Brenda,

  Please call us AT 1-888-355-7747 regarding the Douglas Roark Paraquat Lawsuit. The
  Paraquat Defense Counsel is requesting some information that we need to speak to you
  about. Please be advised the Judge is prepared to schedule a hearing and trial this year
  and it is imperative that you contact us as soon as possible to prevent this case from
  being dismissed.



  Kindest regards,
  Christina Kenebrew
  Paralegal

  O: 214-890-0711 F: 214-890-0712
                             5489 Blair Rd. / Dallas, TX 75231
  <image001.jpg>             ntrial.com



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